                 Case 2:14-cr-00303-DC Document 42 Filed 03/10/16 Page 1 of 3


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 5 Attorney for:
   SESAR PRADO
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                             CASE NO. 14-0303-GEB
10
                                      Plaintiff,           STIPULATION REGARDING EXCLUDABLE
11                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                           [PROPOSED] FINDINGS AND ORDER TO
12                                                         CONTINUE CASE TO 4/22/16 AT 9:15 A.M.
     SESAR PRADO,
13   RAMON PRADO,
                                      Defendants
14

15                                                   STIPULATION

16          Plaintiff United States of America, by and through its counsel of record, Christian Highsmith,

17 and Defendant Sesar Prado, represented by Attorney Dina Santos; Defendant Ramon Prado, represented

18 by Attorney Kelly Babineau, hereby stipulate as follows:

19          1.      By previous order, this matter was set for status on March 11, 2016.

20          2.      By this stipulation, defendant now moves to continue the status conference until April 22,

21 2016, and to exclude time between March 11, 2016 and April 22, 2016, under Local Code T4. Plaintiff

22 does not oppose this request.

23          3.      The parties agree and stipulate, and request that the Court find the following:

24                  a)       Counsel for defendants desire additional time to review discovery, continue to

25          conduct investigation, finalize plea agreements, and to otherwise prepare for trial. Additionally,

26          Attorney for Ramon Prado is currently in a jury trial and needs time to meet with her client.

27                  b)       Counsel for defendants believe that failure to grant the above-requested

28          continuance would deny them the reasonable time necessary for effective preparation, taking into

      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
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                 Case 2:14-cr-00303-DC Document 42 Filed 03/10/16 Page 2 of 3


 1          account the exercise of due diligence.

 2                  c)       The government does not object to the continuance.

 3                  d)       Based on the above-stated findings, the ends of justice served by continuing the

 4          case as requested outweigh the interest of the public and the defendant in a trial within the

 5          original date prescribed by the Speedy Trial Act.

 6                  e)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 7          et seq., within which trial must commence, the time period of March 1a, 2016, to April 22, 2016,

 8          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

 9          because it results from a continuance granted by the Court at defendant’s request on the basis of

10          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

11          of the public and the defendant in a speedy trial.

12          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

13 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

14 must commence.

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17          IT IS SO STIPULATED.

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20 Dated: March 8, 2016                                        BENJAMIN B. WAGNER
                                                               United States Attorney
21

22                                                             /s/ Christian Highsmith
                                                               CHRISTIAN HIGHSMITH
23                                                             Assistant United States Attorney

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      Stip. & [Proposed] Order Continuing Status Conf. &   2
      Excluding Time Periods Under Speedy Trial Act
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                   Case 2:14-cr-00303-DC Document 42 Filed 03/10/16 Page 3 of 3


 1 Dated: March 8, 2016                                              /s/ Dina L. Santos
                                                                     DINA SANTOS, ESQ.
 2                                                                   Attorney for Sesar Prado

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 4

 5 Dated: March 8, 2016                                          /s/ Kelly Babineau
                                                                 KELLY BABINEAU, ESQ.
 6                                                               Attorney for Ramon Prado
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                                                               ORDER
15              IT IS SO FOUND AND ORDERED.
16 Dated: March 9, 2016

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          Stip. & [Proposed] Order Continuing Status Conf. &     3
          Excluding Time Periods Under Speedy Trial Act
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